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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


AC2T, INC. d/b/a                              :
SPARTAN MOSQUITO                              :
                                              :       CIVIL ACTION
       v.                                     :
                                              :       NO. 19-5946
COLIN PURRINGTON                              :

                                            ORDER

       AND NOW, this 24th day of September 2021, upon consideration of Defendant’s Motion

to Compel (ECF No. 17), and Plaintiff’s response thereto (ECF No. 19), it is ORDERED that

the Motion is GRANTED in part and DENIED in part, as follows:1

       1.       If it has not done so already, within 30 days of the date of this Order, Plaintiff
                must: (A) respond to Defendant’s Interrogatory Request Nos. 5 and 7; and
                (B) produce documents responsive to Document Request Nos. 2, 3, 6, 9, 13, 14,
                16, 21, 22, 23, 26, 31, and 32.

       2.       Within 30 days of the date of this Order, Plaintiff must produce:
                a.     documents responsive to Document Request Nos. 8, 11, and 28.
                b.     the contact information for individuals who conducted experiments on the
                       Spartan Mosquito Eradicator (the “Product”) (Document Request No. 4).
                c.     the full video pursuant to Document Request No. 30.

       3.       Defendant’s Motion to Compel is DENIED without prejudice as to Document
                Request Nos. 5, 7, 12, 15, 20, and 25.

       IT IS SO ORDERED.

                                                      BY THE COURT:


                                                      /s/ R. Barclay Surrick
                                                      R. BARCLAY SURRICK, J.
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          In this defamation action, Defendant Collin Purrington filed this Motion to Compel,
seeking the Court’s assistance on discovery matters. “It is well-established that the scope and
conduct of discovery are within the sound discretion of the trial court.” Marroquin-Manriques v.
I.N.S., 699 F.2d 129, 134 (3d Cir. 1983). Pursuant to Federal Rule of Civil Procedure 26, parties
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may obtain discovery regarding: “[A]ny nonprivileged matter that is relevant to any party’s
claim or defense and proportional to the needs of the case . . . .” Fed. R. Civ. P. 26(b)(1). While
the scope of discovery under the Federal Rules is broad, it is not unlimited. See Bayer AG v.
Betachem, Inc., 173 F.3d 188, 191 (3d Cir. 1999).
         Pursuant to Rule 37, a party who has received evasive or incomplete answers to
discovery requests may move for an order compelling discovery. Fed. R. Civ. P. 37(a)(1), (4).
A party moving to compel discovery bears the initial burden of establishing the relevance of the
requested information. Morrison v. Phila. Hous. Auth., 203 F.R.D. 195, 196 (E.D. Pa. 2001).
The burden then shifts to the party resisting disclosure to show that “the requested discovery
(1) does not come within the broad scope of relevance as defined under Fed. R. Civ. P. 26(b)(1),
or (2) is of such marginal relevance that the potential harm occasioned by discovery would
outweigh the ordinary presumption in favor of broad disclosure.” First Sealord Sur. v. Durkin &
Devries Ins. Agency, 918 F. Supp. 2d 362, 383 (E.D. Pa. 2013).
         In this Motion to Compel, Defendant contends that Plaintiff AC2T has not answered
certain interrogatories and has failed to produce responsive documents. Defendant seeks the
Court’s assistance in obtaining answers from AC2T with respect to Interrogatory Request Nos. 5
and 10, and to obtain documents from AC2T in response to Document Request Nos. 2, 3, 4, 5, 6,
7, 8, 9, 11, 12, 13, 14, 15, 16, 20, 21, 22, 23, 25, 26, 30, 31, and 32.
         AC2T filed a response in opposition to Defendant’s Motion to Compel. AC2T does not
respond at all to Defendant’s arguments regarding Interrogatory responses. In addition, AC2T
responds to Defendant’s arguments only as to certain Document Requests. We assume therefore
that AC2T has no objection to the discovery requests for which it did not provide responses.
Accordingly, AC2T must produce responses to Interrogatory Numbers 5 and 7, and must
produce documents responsive to Document Request Nos. 2, 3, 6, 9, 13, 14, 16, 21, 22, 23, 26,
31, and 32.
         We will now address those specific Document Requests to which AC2T raises
objections:

Document Request No. 4. Defendant seeks copies of all non-disclosure or confidentiality
agreements entered into between AC2T and any person doing experiments on the Spartan
Mosquito Eradicator (the “Product”). The names of individuals doing experiments is relevant to
the claims and defenses raised in this case. However, the agreements themselves provide limited
relevance. AC2T must produce names and contact information for any individual that conducted
experiments on the Product.

Document Request Nos. 5 and 7. Defendant seeks documents about the operation of the Product,
and all communications among ACT2’s employees concerning operation of the Product. This
request is vague—especially the use of “operation”—and as such, potentially seeks information
that goes well beyond the scope of relevance to these claims. Defendant’s request as to these
Document requests is denied.

Document Request No. 8. Defendant requests all correspondence between AC2T and state
regulatory agencies concerning regulatory compliance of the Product. Defendant contends that
regulatory compliance of the Product is relevant because truth is a defense to defamation. We



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agree. Any correspondence with state regulatory agencies about the regulatory compliance of
the Product is relevant and discoverable.

Document Request No. 11. Defendant requests all prior versions of AC2T’s website. AC2T
contends that there are approximately 25,000 prior versions. ACT2 does not dispute the
relevance of this request. Instead, AC2T states without explanation that production would be
burdensome. Without any description of the extent of that burden, AC2T has not met his burden
in opposing the discovery request.

Document Request No. 12. Defendant seeks all correspondence between AC2T and any supplier
or distributor concerning operation of the Product. AC2T states that this is overly burdensome.
Defendant’s request about information concerning “operation of the product” is again overly
vague. Defendant may renew his request if he wishes to obtain a more specific subset of
documents.

Document Request No. 15. Defendant requests all correspondence between AC2T and Think
Webstore concerning marketing materials for the product. AC2T responds that this could cover
over one million pages of documents. Defendant’s request for all correspondence with the
company is overly broad. If there is something more specific that he is looking for, he can make
a more specific request narrowly tailored to discoverable material.

Document Request No. 20. Defendant seeks all documents concerning the creation and
organization of the West Nile Education, Eradication, Prevention, and Recovery Organization.
Defendant contends that the organization distributes products for AC2T and thus documents on
how it was incorporated is relevant to marketing efforts. We do not agree. Defendant has not
demonstrated how these documents are at all relevant to his defense.

Document Request No. 25. Defendant requests all correspondence between AC2T and any
product reviewers who have received complimentary Products from AC2T. AC2T objects based
on impossibility. It states that there is no way to tell which reviews were written by buying
customers and which reviews were written by customers who received the Product for free.
Defendant has not articulated why the difference is important. The request is denied.

Document Request No. 28. Defendant seeks all communications with customers who were
unsatisfied with the Product and whose Facebook reviews and comments were deleted by AC2T.
AC2T states that the request is not proportional to the case. We disagree. This request directly
relates to Defendant’s defense. AC2T must produce this information and redact the personal
identifying information of customers.

Document Request No. 30. Finally, Defendant seeks a copy of the full video depicting
mosquitoes entering the holes in the Product. AC2T has offered no justification as to why this
cannot be produced, only stating that it provided excerpts. AC2T must provide the full video.




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